  Case 2:24-cv-05205-FMO-MAA                 Document 124        Filed 05/13/25     Page 1 of 1 Page ID
                                                  #:4928
                                 UNITED STATES DISTRICT COURT
                                CENTRAL DISTRICT OF CALIFORNIA

                                         CIVIL MINUTES - GENERAL
 Case No.           CV 24-5205 FMO (MAAx)                                  Date     May 13, 2025
 Title              Jacquelyn Jackie Lacey v. State Farm General Insurance Company




 Present: The Honorable             Fernando M. Olguin, United States District Judge
          Vanessa Figueroa                                    None                           None
                Deputy Clerk                      Court Reporter / Recorder                 Tape No.
                Attorney Present for Plaintiff:                    Attorney Present for Defendant:
                        None Present                                        None Present
 Proceedings:                (In Chambers) Order Re: Application to Seal [117]

       Having reviewed defendant State Farm General Insurance Company’s Application for
Leave to Seal Documents (see Dkt. 117, “Application”), the court concludes as follows. Plaintiff
did not file a response, see Local Rule 79-5.2.2(b), and neither party has demonstrated that good
cause exists to seal the documents at issue. Accordingly, IT IS ORDERED THAT the Application
(Document No. 117) is denied.




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                                                             Initials of Preparer           vdr




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